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Nicholas J. Henderson, Esq. (OSB #074027)
E-Mail: nhenderson@portlaw.com
Motschenbacher & Blattner, LLP
117 SW Taylor Street, Suite 300
Portland, OR 97204-3211
Telephone: 503-417-0508
Fax: 503-417-0528
Counsel for Defendant Trans Union, LLC



                            UNITED STATES DISTRICT COURT

                           DISTRICT OF OREGON (PORTLAND)


 MICHELLE WILLIAMS,                                                CASE NO. 3:21-cv-00374-JR
          Plaintiff,

          vs.                                                TRANS UNION, LLC’S RULE 7.1
                                                                CORPORATE DISCLOSURE
 TRANSUNION, LLC; EQUIFAX                                                   STATEMENT
 INFORMATION SERVICES, LLC;
 FEDLOAN SERVICING; and
 DOES 1 THROUGH 100 inclusive;
           Defendants.


         Defendant Trans Union LLC, by counsel, pursuant to Rule 7.1 of the Federal Rules of

Civil Procedure, states as follows:

         Trans Union LLC is a wholly owned subsidiary of TransUnion Intermediate Holdings, Inc.

TransUnion Intermediate Holdings, Inc. is wholly owned by TransUnion. TransUnion is a

publicly traded entity with the ticker symbol TRU. Investment funds affiliated with T. Rowe Price

Group, Inc., a publicly-traded entity with the ticker symbol TROW, own more than 10 percent of

TransUnion’s stock.




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                                                Respectfully submitted,


                                                MOTSCHENBACHER & BLATTNER,
                                                LLP


                                                Nicholas J. Henderson, Esq.
                                                OSB #074027
                                                Telephone: 503-417-0508
                                                Counsel for Defendant Trans Union, LLC




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 16th day of April, 2021. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 Kyle W. Schumacher, Esq.
 kyle@schumacherlane.com

         The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the _______ day of

____________________, 2021, properly addressed as follows:

 None




                                                      Nicholas J. Henderson, Esq.
                                                      OSB #074027
                                                      Telephone: 503-417-0508
                                                      Counsel for Defendant Trans Union, LLC




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